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 4
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 5

 6                          UNITED STATES DISTRICT COURT
 7                       SOUTHERN DISTRICT OF CALIFORNIA
 8                       HONORABLE ANTHONY J. BATTAGLIA
 9

10
        UNITED STATES OF AMERICA,                      Case No. 3:21-cr-3198-AJB
11
                     Plaintiff,
12                                                     SENTENCING MEMORANDUM
13
        v.
14                                                     Date: March 28, 2022
15                                                     Time: 9:00 a.m.
        SAMANTHA CONDES,
16                   Defendant.
17

18

19
                                                 I.

20
                                     STATEMENT OF CASE

21            On November 18, 2021, a single-count information was filed in the United
22      States District Court, Southern District of California, charging Samantha Condes
23      and Kristen Lauren Khyzoma with transportation of certain aliens and aiding and
24      abetting, in violation of Title 8 U.S.C. §§ 1324(a)(1)(A)(ii) and (v)(II).
25            On January 4, 2022, Ms. Condes pled guilty to the charge. The Honorable
26      Michael S. Berg ordered a Pre-Sentence Investigation Report (PSR) be prepared
27      by the Probation Department. The defendant has reviewed the PSR with counsel
28      and now comes before this Court for sentencing.
                                                  1
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 1                                              II.
 2                  SUMMARY SENTENCING RECOMMENDATION
 3

 4            Based upon the criteria enumerated under 18 U.S.C. § 3553(a) and an
 5      adjustment for mitigating role under USSG § 3B1.2, subdivision (b), the
 6      defendant respectfully requests the Court impose a sentence of time served.
 7

 8                                              III.
 9      A SENTENCE OF NO MORE THAN TIME SERVED WILL RESULT IN
10       SUFFICIENT BUT NOT GREATER THAN NECESSARY SENTENCE
                           UNDER U.S.C. 3553(a)
11

12             A.    The sentencing framework:
13

14            Under 18 U.S.C. § 3661 “No limitation shall be placed on the information
15      concerning the background, character and conduct of a person convicted of an
16      offense which a court of the United States may receive and consider for the
17      purpose of imposing an appropriate sentence.”
18

19             B.    Sentencing Goals:
20

21            Under 18 U.S.C. § 3582(a) the court is directed to consider certain factors
22      to determine the appropriate punishment, “recognizing that imprisonment is not
23      an appropriate means of promoting correction and rehabilitation.” Id. Under 18
24      U.S.C. § 3553(a) the court is directed to impose a “sentence sufficient, but not
25      greater than necessary to comply with purposes [of sentencing].” Taken together
26      §§ 3582(a) and 3553(a) reflect a clear Congressional preference for the least
27      possible sentence, and for appropriate alternatives to incarceration.
28

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 1             C.    Statutory Factors Under 18 U.S.C. 3553
 2

 3            The Congressional mandate of 18 U.S.C. § 3553, “sentencing criteria”
 4      provides in pertinent part:
 5
              (a) Factors to be considered in imposing sentence.-
 6            The court shall impose a sentence sufficient, but not greater than
 7            necessary, to comply with the purposes set forth in paragraph (2) of this
 8
              subsection. The court, in determining the particular sentence to be
              imposed, shall consider-
 9
                    (1) the nature and circumstances of the offense and the history and
10                  characteristics of the offense and the history and characterization of
11                  the
                     defendant;
12
                    (2) the need for the sentence imposed-
13                  (A) to reflect the seriousness of the offense, to promote respect for
14                  the law, and to provide just punishment for the offense;
                    (B) to afford adequate deterrence to criminal conduct;
15
                    (C) to protect the public from further crimes of the defendant; and
16                  …..
17                  (6) the need to avoid unwarranted disparities among defendants with
18
                    similar records who have been found guilty of similar conduct;

19
              1. Nature and Circumstances of Offense and Offender
20

21
                        a. The Offense
22

23            On October 22, 2021, United States Border Patrol (USBP) agents
24      observed Ms. Condes, the driver, and Ms. Khyzoma, the passenger, in a Hyundai
25      Santa Fe SUV. (PSR at p. 3) The vehicle stopped at the entrance of Skydive San
26      Diego, and five individuals got into the vehicle. (Ibid.) These individuals were
27      later revealed to be adult citizens of Mexico who were illegally present in the
28      United States. (PSR at p. 3)
                                                3
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 1            During an interview with U.S. Probation Officer, Jill Johnson-Pogue, Ms.
 2      Condes expressed sincere remorse for committing this offense and accepted
 3      responsibility for her actions. (PSR at p. 5) She stated she should have thought
 4      twice before becoming involved and has learned from her mistake. (Ibid.) This
 5      experiencing has been life changing. Ms. Condes communicated to counsel that
 6      prior to her arrest, she was planning to move out of her parents’ house to “start
 7      her life.” She understands the consequences of her behavior and recognizes the
 8      impact a felony conviction will have on her future. (PSR at p. 5) She has
 9      reassured counsel this will never happen again.
10

11

12                      b. The History and Characteristics of Samantha Condes
13

14            Ms. Condes was born on September 15, 2002 in Laguna, Philippines.
15      (PSR at p. 2) She is nineteen. (Ibid.) Ms. Condes became a United States Citizen
16      on December 15, 2004.
17            Ms. Condes’ father, Rolando Condes (age 55), is a valet attendant. (PSR at
18      p. 7) Her mother, Leah Condes (age 45), is studying for her nurse’s license.
19      (Ibid.) Ms. Condes lives in San Francisco, California with her parents and two
20      younger siblings, Nicholas (age 14) and Nicole (age 13). (PSR at p. 7)
21            Ms. Condes immigrated to the United States at two years old. (PSR at p. 7)
22      However, she moved back to the Philippines with her mother and siblings when
23      she was ten years old in order for her mother to attend college classes. (Ibid.) Her
24      father remained in the U.S. to continue working. (PSR at p. 7) During her time in
25      the Philippines, Ms. Condes was bullied for being shy and quiet. (Ibid.) This
26      caused her to experience frequent panic attacks and social anxiety. (PSR at p. 7)
27      She feared going to school. (Ibid.) The anxiety dissipated after her return to the
28      United States to attend high school. (PSR at p. 7)

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 1            Ms. Condes experienced a positive upbringing and has a close relationship
 2      with her family. (Exhibit A; PSR at p. 7) She always wanted siblings and was
 3      excited when her brother and sister were born. Ms. Condes enjoyed taking care
 4      of her siblings, and currently spends her free time with them. (PSR at p. 7) Ms.
 5      Condes’ mother describes her daughter as a “respectful and giving person” who
 6      is “always willing to help others.” (Ibid.) She is the type of individual who would
 7      drop “everything to go aid her friend,” “stay late with you during dismissal in
 8      school until you are finally picked up,” “go to your classroom and wait for you
 9      during break time,” and “the type to call you at 4 am just to say that she missed
10      you.” (Exhibits B and C) Ms. Condes is “memorable” and brings “technicolor”
11      to everyone’s lives. (Ibid.) That is why her involvement in this offense
12      “shocked” her friends and family. (PSR at p. 7; Exhibit D) Ms. Condes’ mother
13      never thought her daughter would appear before a judge. (PSR at p. 7) However,
14      her family and friends remains extremely supportive of Ms. Condes during this
15      process. (Ibid.) Ms. Condes’ family will be present at the Sentencing Hearing to
16      provide support.
17            Growing up, Ms. Condes spent several days each week with her
18      grandfather and cared for his two dogs. (PSR at p. 7) She took them on long
19      walks and to the beach. Ms. Condes had always wanted her own dog and in
20      2017, she adopted two rescues – Sooner, a Terrier/Corgi mix, and Buddy, a
21      Terrier/Chihuahua mix. (Exhibit E) Her two dogs have provided so much love
22      and happiness to the family and have helped to decrease the anxiety Ms. Condes
23      previously experienced.
24            Ms. Condes graduated from John O’Connell High School of Technology
25      in June 2021 with a 3.65 GPA. (Exhibits F and G) Her teacher, Matthew Colley,
26      described Ms. Condes as a “conscientious, hard-working, and thoughtful young
27      person.” (Exhibit H). She was a “very strong student” who “worked hard to do
28      her best on all her school assignments and projects.” (Ibid.) Ms. Condes is fluent

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 1      in English and Tagalog. (PSR at p. 8) Though she was admitted into several four
 2      year universities, she was unable to afford the tuition. (Exhibit H) Ms. Condes is
 3      currently a freshman at San Francisco City College and is studying Film. (Ibid.)
 4      She is interested in becoming a film maker or script writer in independent and
 5      thriller films. (PSR at p. 8) Ms. Condes created a documentary of her pet
 6      adoption journey, which won 2nd place in a Petco competition. 1 Ms. Condes used
 7      her winnings to support Front Street Animal Shelter, where she adopted her
 8      dogs.
 9               Ms. Condes currently works at Luke’s Local in San Francisco, a local
10      grocery store. (PSR at p. 8) She cleans and stocks the shelves. (Ibid.) Her
11      employment record includes meal prepping at a pizzeria, cashier/barista at
12      different cafes and bakeries, and working as a plumber. (PSR at p. 8) Ms. Condes
13      plans to continue working at the grocery store while she attends college. (Ibid.)
14

15
                 2. Minor Role
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17
                            a. Applicable Law
18

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                 Section 3B1.2 of the United States Sentencing Guidelines provides that a
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        defendant’s offense level shall be decreased if the person’s role in the offense
21
        was minor. The guidelines specifically require courts to make individual fact-
22
        based determination in each case. (USSG § 3B1.2 comment (backg’d).)
23
                 In § 3B1.2, the Sentencing Commission did not institute a unitary, 2-level
24
        reduction for a one-size-fits-all mitigated role. It specifically provided for a 4-
25
        level reduction for minimal participants at the lowest level of culpability, an
26

27

28      1
            https://www.youtube.com/watch?v=eir6UWqnMQM

                                                          6
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 1      intermediate level of a 3-point reduction for those whose role falls between
 2      minimal and minor, and only then a 2-level minor role reduction.
 3            In deciding whether a defendant’s conduct in the underlying offense
 4      should be viewed as minimal, the defendant’s lack of knowledge or
 5      understanding of the scope and structure of the enterprise should be considered.
 6      (USSG § 3B1.2 comment (n.4).) A 2-level reduction for minor role should be
 7      implemented when a defendant is less culpable than most other participants, but
 8      whose role could not be described as minimal. (USSG § 3B1.2 comment (n.5).)
 9

10
                        b. Background and Offense Conduct
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12
              Ms. Condes and the codefendant have known each other for four years,
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        through high school. They regularly take short trips together, mostly local. The
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        two girls planned a road trip to Los Angeles, California, which Ms. Condes was
15
        excited about prior to starting her job. Ms. Condes had plans to meet with friends
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        who lived in Los Angeles and potentially visit Universal Studios. At some point,
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        the codefendant saw and Instagram Story post by a skater influencer she follows
18
        who was looking for drivers in Los Angeles area. The codefendant had seen
19
        previous posts by this Instagramer looking for drivers. Ms. Condes and the
20
        codefendant both agreed to request more information regarding the ad post.
21
              While Ms. Condes was driving toward Los Angeles, the codefendant
22
        messaged with the Instagramer who was advertising for drivers. This individual
23
        explained that the job involved picking up workers who work for him and his
24
        brother. The girls understood they would be paid $1,000 total to pick up the
25
        workers in San Diego and drop them off in Orange County, California. The two
26
        girls agreed they could use the money for their trip or to get a hotel room versus
27
        sleeping in the car, which was what they had done on their previous road trips.
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 1            The codefendant was then told to speak to the individual’s boss and was
 2      provided with his Instagram contact. The boss gave her a location to pick up his
 3      workers in Chula Vista, California. The boss continuously checked in regarding
 4      the girls’ location and asked how far they were from the pickup spot. The boss
 5      asked them to share their location so he knew where they were. The boss even
 6      asked them to “drive faster” as the “workers have been waiting.”
 7            Once the two girls reached the location, five men jumped into the vehicle.
 8      Ms. Condes and the codefendant were scared and did not know what to do. They
 9      were afraid to say anything that could compromise their safety. However, Ms.
10      Condes did realize these men were likely undocumented individuals. The boss
11      instructed the girls to drive to Orange County where he would then provide the
12      address of where to drop off his workers.
13

14                      c. Legal Argument
15

16            Ms. Condes is deserving of a two-point reduction for “minor role.” Ms.
17      Condes did not understand the scope and structure of this offense. She did not
18      plan or organize this crime. Ms. Condes did not exercise decision-making
19      authority. She followed the instructions from the Instagramer and his boss. Ms.
20      Condes had no knowledge of what organization the Instagramer or his boss
21      worked for. She has no specific information on how the Instagramer or his boss
22      found potential drivers. Ms. Condes does not know anyone else who was
23      working for the Instagramer or his boss.
24            Ms. Condes was substantially less culpable than the average participant
25      involved in this case. Known individuals such as the Instagramer and his boss
26      were average participants and substantially more culpable than Ms. Condes. Ms.
27      Condes is the type of defendant the Commission had in mind when it structured
28      adjustments based on 3B1.2.

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 2            3. Just Punishment, Deterrence, and Protecting the Public
 3

 4            A sentence of no more than time served would result in just punishment.
 5      U.S. Probation Officer, Jill Johnson-Pogue, recommends a sentence of time
 6      served and noted that it “does not appear that an additional custodial sanction is
 7      necessary to meet the objectives of sentencing.”
 8            Ms. Condes turned nineteen-years-old prior to her arrest. After
 9      interviewing Ms. Condes, Officer Johnson-Pogue, believed Ms. Condes “is very
10      young and appears rather naïve.” (PSR at p. 11) She understood that Ms. Condes
11      had limited “life experience” as “she is both emotionally and financially
12      supported by her parents.” (Ibid.) Ms. Condes has no prior criminal conduct. She
13      has a criminal history score of zero and is a criminal history category I. (PSR at
14      p. 6) This was her first experience in the criminal justice system.
15            Prior to her arrest, Ms. Condes underwent outpatient surgery to remove a
16      boil. (PSR at p. 7) While in custody, Ms. Condes had an open wound that she
17      feared would become infected. She had difficulty obtaining her antibiotics and
18      necessary medications. The time Ms. Condes spent incarcerated was challenging,
19      especially with the numerous outbreaks as a result of COVID-19.
20            Ms. Condes will not become involved in this type of offense again. This
21      was aberrant behavior that will not reoccur. Her time in custody was “eye
22      opening.” Officer Johnson-Pogue stated that it did not appear that Ms. Condes
23      “considered the consequences of her conduct herein and the collateral
24      consequences of a felony conviction will now follow her from a young age.”
25      (PSR at p. 11) Ms. Condes has told counsel that this is not the type of future she
26      envisioned for herself. She recognizes that she placed herself in this position and
27      accepts responsibility for her actions.
28

                                                   9
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 1         As sentence of time served will reflect the seriousness of this offense,
 2   while appropriately taking into account Ms. Condes’ personal characteristics. A
 3   time served sentence will not create disparity between her and similarly situated
 4   defendants. It will promote respect for the law, while not resulting in a greater
 5   than necessary punishment.
 6         Based upon Ms. Condes’s age, lack of criminal history, and family
 7   support, a time served sentence would adequately protect the public and ensure
 8   Ms. Condes does not commit future crimes.
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 1                                           IV.
 2                                  CONCLUSION
 3

 4         For the foregoing reasons, defendant Samantha Condes respectfully
 5   requests the Court impose a sentence of no greater than time served.
 6

 7

 8

 9
     DATED: March 21, 2022                 By:     /s/ Linh T. Nguyen
                                                       Linh T. Nguyen
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                                                   Attorney for Samantha Condes

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